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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
                                                 :
        v.                                       :   Case No. 21-cr-26 (CRC)
                                                 :
CHRISTOPHER MICHAEL ALBERTS,                     :
                                                 :
        Defendant.                               :

 OPPOSITION TO DEFENDANT’S MOTION IN LIMINE TO PRECLUDE EVIDENCE

       The United States of America opposes Defendant Christopher Alberts’s motion in limine

to preclude the United States from introducing various trial “arguments, evidence or claims” which

the Defendant contends would be prejudicial and not probative. See ECF No. 85 at 1, 2, 10-18.

The Defendant’s arguments regarding supposed “conjecture,” “speculation,” “mind-reading,” and

“guilt by association,” id. at 10-13, are based upon a challenge to the sufficiency of the Second

Superseding Indictment that has been rejected by the Court. And his claims that the Government

should be limited in the means and manner of its evidence of the restricted perimeter at the Capitol

on January 6, 2021, and in proving the Defendant’s knowing entrance and presence within that

perimeter, id. at 13-18, are without merit. Thus, Alberts’s motion should be entirely denied.

                                  FACTUAL BACKGROUND

       On January 6, 2021, a Joint Session of the United States House of Representatives and the

United States Senate convened to certify the vote of the Electoral College of the 2020 U.S.

Presidential Election. While the certification process was proceeding, a large crowd gathered

outside the United States Capitol, entered the restricted grounds, and forced entry into the Capitol

building. As a result, the Joint Session and the entire official proceeding of the Congress was

halted until law enforcement was able to clear the Capitol of hundreds of unlawful occupants and
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ensure the safety of elected officials.

       That day, Alberts arrived on the restricted Capitol grounds prepared for battle. He wore a

bulletproof vest containing metal plates and camouflage fatigues and carried a gas mask, tactical

radio, and holsters containing a fully loaded firearm and magazines with 25 rounds of hollow-point

ammunition. Alberts brandished a wooden pallet-type object and used it as a makeshift battering

ram as he stormed up the Northwest Steps at 1:54 p.m., charging the police line, making physical

contact with the outnumbered officers, and attempting to break through their position. See ECF

No. 69 at 3. Minutes later, rioters eventually rushed past those officers and forced entry into the

Capitol; others remained outside attacking officers and attempting to breach the building

elsewhere. Id. Alberts remained on restricted Capitol grounds throughout the afternoon, yelling

at officers that the Constitution permitted the rioters to “overthrow [the] government and reinstate

a new government for the people,” throwing a water bottle at officers, and later threatening that

the assembled mob “are going to come back even more, and we’re not coming back peacefully,

and we’re not coming back unarmed.” Still present near the Capitol after a citywide curfew had

gone into effect, Alberts was found in possession of a firearm and arrested at around 7:25 p.m.

       Based on his actions on January 6, 2021, the defendant is charged with nine crimes: (1)

civil disorder; (2) assaulting, resisting, or impeding certain officers; (3) entering and remaining on

restricted grounds with a deadly weapon; (4) disorderly or disruptive conduct within Capitol

grounds with a deadly weapon; (5) engaging in physical violence in restricted grounds; (6)

unlawful possession of a firearm on Capitol grounds; (7) disorderly conduct within Capitol

grounds; (8) physical violence within Capitol grounds; and (9) carrying a pistol without a license.

These offenses arise from his assault of officers from the U.S. Capitol Police on the Northwest

Steps to the Capitol Building and unlawfully carrying a loaded handgun and 25 rounds of



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ammunition on Capitol grounds. ECF No. 34.1

                                     LEGAL STANDARD

       Motions in limine serve the limited purpose of narrowing evidentiary issues for trial and

eliminating unnecessary trial interruptions. Walker v. District of Columbia, No. 15-CV-00055

(CKK), 2018 WL 11428655, at *2 (D.D.C. Nov. 9, 2018) (citing Graves v. District of Columbia,

850 F. Supp. 2d 6, 10 (D.D.C. 2011)); see also United States v. ex rel. El-Amin v. George Wash.

Univ., 533 F. Supp. 2d 12, 19 (D.D.C. 2008) (“A key purpose of motions in limine is to resolve

specific evidentiary issues in advance of trial”).      “In short, motions in limine are a means

for arguing why ‘evidence should or should not, for evidentiary reasons, be introduced at

trial.’” Barnes v. District of Columbia, 924 F. Supp. 2d 74, 78 (D.D.C. 2013) (quoting Williams

v. Johnson, 747 F. Supp. 2d 10, 18 (D.D.C. 2010)).

       Rule 401 of the Federal Rules of Evidence states that evidence is relevant if, “(a) it has any

tendency to make a fact more or less probable than it would be without the evidence; and (b) the

fact is of consequence in determining the action.” Id. While “evidence should be admitted if

relevant,” Rule 403 provides that, “relevant evidence may be excluded if unfairly prejudicial.”

United States v. Rogers, 918 F.2d 207, 209 (D.C. Cir. 1990) (citing Huddleston v. United States,

485 U.S. 681, 687 (1988)). Nevertheless, evidence is not “unfairly prejudicial” merely because it

reflects poorly on the Defendant, is damaging to the defense, or implicates the Defendant in

criminal activity, charged or uncharged. “Unfair prejudice as used in Rule 403 is not to be equated

with testimony simply adverse to the opposing party. Virtually all evidence is prejudicial or it

isn’t material. The prejudice must be unfair.” United States v. Cassell, 292 F.3d 788, 796 (D.C.



1
 The Defendant incorrectly contends that “the operative indictment under which Alberts is
scheduled to go on trial only six (6) weeks old.” ECF No. 85 at 1. The Second Superseding
Indictment was returned by the Grand Jury on November 10, 2021.
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Cir. 2002); see also United States v. Gartmon, 146 F.3d 1015, 1021 (D.C. Cir. 1998) (Rule 403

“does not bar powerful, or even ‘prejudicial’ evidence. Instead, the Rule focuses on the ‘danger of

unfair prejudice.’”) (emphasis in original).

                                          ARGUMENT

       It is not unfairly prejudicial to use images and videos of the Defendant’s actions, and his

own words, as evidence of the charged crimes. Alberts’s words and conduct on January 6, 2021

– in addition to contextual testimony and exhibits of the events at the Capitol while the Defendant

was on the restricted Capitol grounds and at the vanguard of the mob that overtook the Capitol –

are clearly relevant to establishing his conduct and intent on January 6. Alberts has failed to show

that any evidence or argument he challenges should be barred at trial.

   A. The Defendant’s pretrial objections to “imagined” conjecture, speculation, mind
      reading, and guilt by association should be overruled.

       Alberts’s attempt to limit the evidence and arguments the Government utilizes to establish

his guilt largely arises from his contention, which was rejected by this Court, that the Second

Superseding Indictment is legally insufficient.      He contends that, because the Government

purportedly “has alleged no facts of any such crime[s],” ECF No. 85 at 10-12, it will improperly

resort to “conjecture,” “speculation,” “mind reading,” and “guilt by association.” These claims

are built on a faulty premise, unsupported, and, as Alberts concedes, based on the anticipated

presentation of evidence and arguments that he admits “can only be imagined.” Id.

       As the Court has previously explained, the Second Superseding Indictment utilizes

language that mirrors the text of the relevant statutory provisions and, when required as an element

of the offenses, alleges that Alberts’s conduct occurred on the United States Capitol Grounds and

in any of the Capitol Buildings. ECF No. 77 at 11-12. Accordingly, those allegations are legally

sufficient. Id. at 11-13. Contrary to the Defendant’s unfounded suspicions, the Government’s

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evidence at trial and closing argument will be directed at establishing Alberts’s guilt of each of the

elements of the nine crimes of which he is accused. The evidence will be based on the Defendant’s

own words, along with images and videos of the Defendant’s egregious conduct on January 6,

2021. Context for the Defendant’s actions, and the civil disorder in which he is accused of

participating, will be provided through the testimony of law enforcement officers, including

anticipated witnesses from the U.S. Capitol Police, Metropolitan Police Department, U.S. Secret

Service, and/or Federal Bureau of Investigation. Certain witnesses will have first-hand knowledge

of Alberts’s conduct and the riot that took place at the Capitol Building and its grounds on January

6; others will authenticate evidence of the Defendant’s role in the riot and the proceedings at the

Capitol that are necessary elements of the Government’s case-in-chief.

       Moreover, overview exhibits and testimony – already used at the dozens of January 6th

trials – will be presented for context and to help demonstrate that the Defendant’s conduct occurred

during a civil disorder (Count 1), within restricted grounds (Counts 3-5), on Capitol grounds

(Counts 6-8), and with intent to impede or disrupt government business and Congress (Counts 4

and 7). Any objections regarding still-“imagined” speculative or irrelevant questions or evidence

can be raised and dealt with at trial, when the Court’s decision “‘can be better informed by the

context, foundation, and relevance of the contested evidence within the framework of the trial as

a whole.’” Barnes, 924 F. Supp. 2d at 79 (quoting Casares v. Bernal, 790 F. Supp. 2d 769, 775

(N.D. Ill. 2011)).

       To the extent that Alberts seeks to bar evidence and closing argument regarding his

knowledge or intent on January 6, 2021, that request is meritless. Evidence of the Defendant’s

intent – largely premised on his own words, conduct, and battle-gear, along with the surrounding

events – is a necessary element of the Government’s burden to prove Alberts’s criminal attempt to



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obstruct and interfere with officers and to impede and disrupt government business, among other

crimes. Similarly, evidence of the events and conduct of others surrounding the Defendant is not

“guilt by association,” but probative of both the civil disorder in which Alberts allegedly

participated and Alberts’s and their combined attempt to impede or disrupt government business

and Congress. The Defendant’s motion in limine therefore should be denied as premature and

lacking in both foundation and merit.

   B. The Defendant’s attempts to exclude evidence regarding the Restricted Area and his
      knowledge should be denied.

       The Court also should overrule Alberts’s attempt to control or restrict the Government’s

presentation of evidence about his unlawful presence on restricted grounds under 18 U.S.C. §

1752, alleged in Counts Three, Four, and Five of the Second Superseding Indictment.

       Initially, there is no basis for Defendant’s attempt to dictate the manner of the

Government’s presentation of his alleged violations of 18 U.S.C. § 1752. The Government is

aware of no precedent that would oblige a litigant to describe the law governing a particular

allegation whenever evidence related to that allegation is introduced. This is especially true where,

as here, Alberts seeks to have the Court compel the Government to make misstatements of law in

order to introduce evidence. See ECF No. 85 at 13-14 (requesting that Government be required to

inform jury – incorrectly – that “any notice provided to the public of a temporary restriction must

be especially clear and explicit to make the public understand that the status quo has changed”).

As in every case before a jury, the Court will prepare instructions of law that will guide the jury’s

analysis of the evidence in the case and, eventually, its determination whether the Government has

established Alberts’s guilt of each offense beyond a reasonable doubt. At that time, and not

compelled as part of the Government’s case-in-chief, will the jury be informed of the proper

definition of “restricted area,” the elements of each offense, and the scienter required to be

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convicted under Section 1752.2

       As relevant here, a “restricted building or grounds” under Section 1752 refers to “any

posted, cordoned off, or otherwise restricted area … of a building or grounds where the President

or other person protected by the Secret Service is or will be temporarily visiting.” 18 U.S.C. §

1752(c)(1)(B). To meet its burden of proof at trial, the Government intends to introduce evidence,

through witnesses from the Secret Service and Capitol Police, that at the time of the Capitol breach

on January 6, 2021, Secret Service agents were on duty to protect then-Vice President Mike Pence

and his two immediate family members, all of whom were present at the Capitol. These witnesses

will further testify about the restricted area in place around the Capitol on January 6, 2021 due to

the visit of then-Vice President Pence. The testimony and exhibits will describe and show the

restricted area, along with the barricades, signs and officers demarcating the restricted boundary.

No basis exists to preclude the use of this evidence, which has been presented and admitted at

every previous Capitol Breach trial alleging violations of Section 1752.

    C. The Restricted Area Map is properly admissible at trial.

       Alberts’s attempt to bar use of an exhibit admitted into evidence in numerous prior January

6 cases is premature and without merit. As it has in prior Capitol Breach trials, the Government

intends in its case-in-chief to introduce the following map of the restricted perimeter in place on

January 6, 2021, in conjunction with the testimony from witnesses from the U.S. Capitol Police

and U.S. Secret Service about the restricted area and security measures on that day:




2
 There is no basis for Alberts’s false claim that “the Government has persistently misrepresented
18 U.S.C. 1752(a)(1) beyond the acceptable bounds of advocacy.” ECF No. 85 at 5.
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       The Government anticipates that the witnesses, who have personal knowledge of the

restricted area and security measures in place on January 6, 2021, will testify that the red line

superimposed on the map is a fair and accurate representation of the restricted area in place around

the Capitol on January 6 due to the visit of Vice President Pence. These witnesses will explain the

use of bike rack barricades, “area closed” signs, and officers to set and secure the security

perimeter. This anticipated testimony satisfies the authentication and admissibility standards, and

the exhibit is admissible. Indeed, a version of the exhibit has been – properly – admitted in

numerous trials in which defendants were accused of unlawful presence on restricted Capitol

grounds on January 6, 2021.

       The Defendant’s arguments that no red line actually was painted on the ground, and that

this particular exhibit was not publicly posted at the Capitol grounds on January 6, are irrelevant

to the exhibit’s admissibility. The exhibit fairly and accurately represents the restricted area

around the Capitol on January 6, 2021, and the red line demarcates the security perimeter that was

in place and that was violated by Christopher Alberts and his fellow rioters. The public posting of

such a picture is not a prerequisite to establishing a restricted building or grounds under 18 U.S.C.


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§ 1752. The Defendant’s arguments about the red line added to the aerial photograph of the Capitol

grounds, and the fact that the exhibit was not publicly posted on January 6, 2021, are grounds for

cross-examination and argument, not exclusion.

       Alberts’s request to bar the use of this exhibit and his other demands for exclusion therefore

are meritless and should be denied.

                                         CONCLUSION

       For the reasons set forth herein, the United States respectfully requests that this Court deny

the Defendant’s motion in limine, ECF No. 85.

                                              Respectfully submitted,

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                               CERTIFICATE OF SERVICE


       On this 5th day of January 2023, a copy of the foregoing Opposition to Defendant’s Motion

in Limine to Preclude Evidence was served upon all parties listed on the Electronic Case Filing

(ECF) System.



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